       Case 1:25-cv-00287-TJK          Document 1       Filed 01/30/25     Page 1 of 32




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 OCA – ASIAN PACIFIC AMERICAN                        Case No. _______
 ADVOCATES,

                Plaintiff,

                    v.

 MARCO RUBIO, U.S. Secretary of State, in
 his official capacity; U.S. DEPARTMENT OF
 STATE; JAMES McHENRY, Acting Attorney
 General, in his official capacity; U.S.
 DEPARTMENT OF JUSTICE, KRISTI
 NOEM, Secretary of Homeland Security, in her
 official capacity, U.S. DEPARTMENT OF
 HOMELAND SECURITY; MICHELLE
 KING, Acting Commissioner of the Social
 Security Administration, in her official
 capacity; U.S. SOCIAL SECURITY
 ADMINISTRATION; and DONALD J.
 TRUMP, President of the United States, in his
 official capacity,

                Defendants.



            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       1.      One hundred and thirty years ago, Wong Kim Ark, then a 21-year-old cook who

was born in San Francisco and had lived his entire life in California, returned home by sea from a

trip to China. He was refused reentry, arrested, and detained aboard the ship on which he had

traveled home. In opposition to Wong’s petition for habeas corpus, the United States attorney

claimed that, despite having been born in the United States, Wong was not a U.S. citizen because

Wong “had been at all times, by reason of his race, language, color, and dress, a

Chinese person … .”




                                                1
        Case 1:25-cv-00287-TJK           Document 1        Filed 01/30/25      Page 2 of 32




       2.      The Supreme Court disagreed. In 1898, the Court issued a landmark opinion that

confirmed beyond doubt what, by then, was already the law of the land: “All persons born in the

United States and subject to the jurisdiction thereof, are citizens of the United States.” United

States v. Wong Kim Ark, 169 U.S. 649. 704 (1898) (emphasis added).

       3.      The Court so held even in the face of virulent hostility to Chinese immigrants. Just

six years prior, Congress extended the Chinese Exclusion Act to bar Chinese laborers from the

United States and further amended the Act to require Chinese residents of the United States to

carry certificates of residency, or be arrested and deported.

       4.      Yet even this anti-immigrant animus could not overshadow “the fundamental

principle of citizenship by birth within the dominion.” Id. at 688. The Supreme Court recognized

that (subject to rare and narrow exceptions) the Fourteenth Amendment, “in clear words and in

manifest intent, includes the children born within the territory of the United States of all … persons,

of whatever race or color, domiciled within the United States.” Id. at 693. Congress subsequently

re-codified this principle in the United States Code. 8 U.S.C. § 1401(a).

       5.      Birthright citizenship has thus been well-settled law in the United States for over a

century. During that time, generations of children born on American soil have enjoyed the

privileges of U.S. citizenship. The principle that every child born in the United States is

automatically a citizen is part of the fabric of American society.

       6.      On his first day in office, Defendant President Trump moved to unilaterally end

birthright citizenship by edict, eviscerating the rights of children and more than a century of settled

law. His Executive Order entitled “Protecting the Meaning and Value of American Citizenship”

(the “Order”) directs every department and agency of the United States to refuse to recognize as

an American citizen any child born on American soil whose mother is “unlawfully present” or




                                                  2
        Case 1:25-cv-00287-TJK            Document 1        Filed 01/30/25       Page 3 of 32




temporarily present and whose father who is not a U.S. citizen or lawful permanent resident

(hereinafter, “Targeted Children”). President Trump’s unilateral directive is flagrantly unlawful: it

violates the Constitution’s Citizenship Clause, as well as the birthright citizenship statute.

        7.      But apart from being unconstitutional on its face, the Order stands to inflict

profound and lasting injury on countless immigrant families in the United States, whose children,

though born on U.S. soil, will be deprived of the benefits of American citizenship.

        8.      Plaintiff OCA – Asian Pacific American Advocates (“OCA”) is a nonprofit,

membership-based organization with over 35 chapters and affiliates across the United States.

Founded in 1973 as the Organization of Chinese Americans with the purpose—like many

membership associations before it—of providing a unified voice for Chinese Americans in the

civil rights movement, in 2013 OCA renamed itself “OCA-Asian Pacific American Advocates” to

reflect its work on behalf of all Asian Americans, Native Hawaiians, and Pacific Islanders.

        9.      OCA’s members include at least two pregnant women on lawful temporary visas

whose children will be born after the Order’s effective date and will be denied birthright citizenship

pursuant to the Order. OCA brings this lawsuit to forestall the grave and irreparable harm that the

Order will impose on its members and countless other families in the United States.

                                  JURISDICTION AND VENUE

        10.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 and 1343, and 28 U.S.C. § 2201.

        11.     Venue is proper in this District because Defendants Departments of State, Justice,

and Homeland Security, as well as Defendants Marco Rubio, James McHenry, Benjamine

Huffman, and Donald Trump, who are “officer[s] or employee[s] of the United States or a[n]

agency thereof acting in their official capacity or color of legal authority,” reside in this District; a

“substantial part of the events or omissions giving rise to the claim occurred” in this District;


                                                   3
        Case 1:25-cv-00287-TJK           Document 1        Filed 01/30/25      Page 4 of 32




Plaintiff OCA is based in this District; and the District is a site of the injuries at issue. 28 U.S.C.

§ 1391(b)(2); Id. at § (e)(1).

                                             PARTIES

A.     Plaintiff

       12.     Plaintiff OCA is a nonprofit, membership-based organization with over 35 chapters

and affiliates across the United States. It is headquartered in Washington, District of Columbia.

OCA’s mission is to advance the social, political, and economic well-being of Asian Americans,

Native Hawaiians, and Pacific Islanders (“AANHPIs”).

       13.     OCA was founded in 1973 as the Organization of Chinese Americans with the

purpose—like many membership associations before it—of providing a unified voice for Chinese

Americans in the civil rights movement. As the AANHPI population of the United States

continued to grow and diversify following the elimination of most race-based restrictions on

immigration, the Organization of Chinese Americans also changed to reflect that growing

diversity. In 2013, it renamed itself “OCA-Asian Pacific American Advocates” to reflect its work

on behalf of all AANHPIs. OCA is headquartered in Washington, D.C.

       14.     OCA is a membership-based organization. Members pay annual dues to OCA and

choose to affiliate with a local chapter or be an “at large” member. Fifty percent of each member’s

dues are sent by OCA to the member’s affiliated local chapter.

       15.     Current dues-paying members, known as voting members, have the right to vote

for local chapter leadership, hold office within OCA and its chapters, and serve on committees or

task forces. OCA currently has over 1700 voting members.

       16.     Voting members of OCA elect local chapter leadership, including but not limited to

a board of directors, officers, including president and treasurer. A chapter may designate a separate

Director to OCA’s National Board or have the chapter President be its designee. The National


                                                  4
       Case 1:25-cv-00287-TJK          Document 1       Filed 01/30/25     Page 5 of 32




Board is comprised of leadership from the local chapters, with larger chapters having additional

representation, and elects the Executive Council of OCA, including its President. OCA’s National

Board, inter alia, conducts, manages, and sets the mission, national policies and resolutions, and

strategic plan and affairs of OCA. Each chapter must comply with policies, resolutions, and

procedures set forth by the National Board.

       17.     OCA’s national headquarters provides subgrants to its individual chapters, and the

national board includes each OCA chapter’s board president.

       18.     Today, OCA chapters serve as their local communities’ trusted voice and resource.

They host cultural events; hold food and clothing drives conduct community clean-ups; provide

programming for AANHPI youth, professionals, and elders; conduct voter outreach and undertake

other civic engagement work; and provide other resources to their communities, including

information about COVID-19, small business support, and naturalization and citizenship

application support.

       19.     OCA was founded by and its membership includes those who have grown their

families and thrived as a result of birthright citizenship as interpreted by Wong Kim Ark and its

progeny. Without Wong Kim Ark, many Asian Americans—on behalf of whose rights OCA

advocates—including members of OCA itself, would not be citizens of the United States today.

       20.     OCA has members that include, but are not limited to, noncitizens who are in the

United States on temporary visas, and whose expected children will be deprived of citizenship

under the Order.

       21.     Among these OCA members affected by the Order are two individuals who are

affiliated with OCA’s D.C. chapter, which has members in the District of Columbia, Maryland,

and Virginia. These individuals are pregnant and are present in the United States on nonimmigrant




                                                5
        Case 1:25-cv-00287-TJK          Document 1       Filed 01/30/25     Page 6 of 32




visas. Their children are expected to be born after the Order goes into effect. One of those women

holds a J visa (a visa for individuals approved to participate in exchange programs in the United

States). The other holds an F visa (a student visa).

       22.     Neither of the fathers of either expected child is a U.S. citizen or legal permanent

resident.

       23.     The expected children of both of these individuals would have been born and

recognized as U.S. citizens but for the actions of Defendants. OCA is capable of presenting the

claims asserted in this complaint, and the Court is able to provide complete relief without the

participation of these two women or any other individual OCA members.

B.     Defendants

       24.     Defendant Marco Rubio is the Secretary of the U.S. Department of State (“State

Department”). In that role, Defendant Rubio is responsible for overseeing all Sate Department

operations, including reviewing passport applications, making eligibility determinations thereon,

and issuing passports to Americans with birthright citizenship. As head of the State Department,

Defendant Rubio is responsible for implementing the dictates of the Order at the State Department.

Defendant Rubio is sued in his official capacity only.

       25.     Defendant State Department is a cabinet-level department of the United States

federal government.      The State Department’s responsibilities include reviewing passport

applications and issuing passports to U.S. citizens. The State Department will be responsible for

implementing the dictates of the Order. The State Department is headquartered in Washington,

D.C.

       26.     Defendant James McHenry is the Acting Attorney General of the U.S. Department

of Justice (DOJ). In that role, Defendant McHenry is responsible for overseeing all Department

of Justice operations. As head of the Department of Justice, Defendant McHenry is responsible


                                                  6
        Case 1:25-cv-00287-TJK          Document 1      Filed 01/30/25      Page 7 of 32




for implementing the dictates of the Order at the Department of Justice. Defendant McHenry is

sued in his official capacity only.

        27.    Defendant the U.S. Department of Justice (DOJ) is a cabinet-level department of

the United States federal government. DOJ’s responsibilities include upholding the rule of law and

protecting civil rights. DOJ was founded during Reconstruction to protect the civil rights promised

by the Thirteenth, Fourteenth, and Fifteenth Amendments. DOJ is tasked with implementing the

dictates of the Order. DOJ is headquartered in Washington, D.C.

        28.    Defendant Kristi Noem is the Secretary of the Department of Homeland Security

(DHS). In that role, Defendant Noem is responsible for overseeing all DHS operations. As head

of DHS, Defendant Noem is responsible for implementation of the dictates of the Order at DHS.

Defendant Noem is sued in her official capacity only.

        29.    Defendant DHS is a cabinet-level department of the United States federal

government. DHS is tasked with implementing the dictates of the Order. DHS and its components

are headquartered in Washington, D.C.

        30.    Defendant Michelle King is the Acting Commissioner of the Social Security

Administration (“SSA”). In that role, Defendant King is responsible for overseeing all SSA

operations, including the assignment of Social Security numbers and the issuance of Social

Security cards to American citizens. As head of SSA, Defendant King is responsible for

implementing the dictates of the Order at SSA. Defendant King is sued in her official capacity

only.

        31.    Defendant SSA is an independent agency within the Executive Branch of the United

States Government. SSA is responsible for, inter alia, assigning Social Security numbers and




                                                7
        Case 1:25-cv-00287-TJK           Document 1        Filed 01/30/25       Page 8 of 32




issuing Social Security cards to American citizens. SSA is tasked with implementing the dictates

of the Order.

        32.     Defendant Donald J. Trump is the President of the United States. He is sued in his

official capacity. In that capacity, he signed, issued, and will oversee the implementation of the

Order challenged in this lawsuit.


                                     STATEMENT OF FACTS

A.      Birthright Citizenship in the United States Prior to and in the Fourteenth
        Amendment

        33.     Jus soli is “the ancient and fundamental” principle of “citizenship by birth within

the [country’s] territory”—as relevant here, the United States. Wong Kim Ark, 169 U.S. at 693.

        34.     The principle of jus soli has its roots in English common law, see Calvin v. Smith,

77 Eng. Rep. 377 (K.B. 1608), where it was “held in practice” “long before . . . [it] was made

explicit in 1368.” James H. Ketter, THE DEVELOPMENT OF AMERICAN CITIZENSHIP,

1608-1870, at 13 (1978). It was “never successfully challenged.” Id.

        35.     Drawing on English common law, early American courts in both the colonial era

and early years of the American republic applied the doctrine of jus soli. See Wong Kim Ark, 169

U.S. at 658; Lynch v. Clarke, 1 Sand. Ch. 583, 3 N.Y. Leg. Obs. 236 (N.Y. 1844) (“It was thus the

law of each and all of the states at the Declaration of Independence, and so remained until the

National Constitution went into effect, that a child born within their territory and liegeance

respectively, though of alien parents, who were abiding temporarily, thereby became a citizen of

the state of which he was a native.”).

        36.     Yet, as with so many other laudable principles of the American Revolution, the idea

of jus soli did not square with the reality of slavery: If jus soli were the rule without exception, any

enslaved person born in the United States was, by right, a citizen and definitionally could not be


                                                   8
        Case 1:25-cv-00287-TJK           Document 1        Filed 01/30/25       Page 9 of 32




enslaved. And, in fact, until the conclusion of the Civil War, enslaved people and others were

routinely deprived of their rights under this doctrine.

       37.     Aware of the tension between the principle of jus soli and the practice of chattel

slavery, supporters of slavery sought to carve out an exception to jus soli or do away with it entirely.

They achieved this result in Dred Scott v. Sandford, wherein the Supreme Court abandoned the

idea of territorial birthright citizenship and held that, despite their birth in the United States, the

descendants of enslaved people were “not included, and were not intended to be included, under

the word ‘citizens’ in the Constitution.” 60 U.S. 393, 404-05 (1857). Rather, the Dred Scott Court

held that only those descended from people considered “citizens” by the framers were entitled to

citizenship at birth. 60 U.S. at 404. This conception of citizenship excluded the descendants of

enslaved people who had been “subjugated by the dominant race” and were considered

“subordinate.” Id. at 404.

       38.     The Dred Scott decision, however, did not end the debate over American

citizenship.

       39.     During the Civil War, Attorney General Edward Bates issued a formal opinion on

the citizenship of African Americans and enslaved people, rejecting the reasoning in Dred Scott.

He explained that it was the Department of Justice’s view that all persons born within the United

States were citizens: “We have natural born citizens …not made by law or otherwise, but born . .

. . And they became citizens in the natural way, by birth, so they remain citizens during their

natural lives unless, by virtue of their own voluntary act, they expatriate themselves and become

citizens or subjects of another nation … If this be a true principle, and I do not doubt it, it follows

that every person born in the country is, at the moment of their birth, prima facie a citizen; and he

who would deny it must take upon himself the burden of providing some great disenfranchisement




                                                   9
       Case 1:25-cv-00287-TJK           Document 1        Filed 01/30/25       Page 10 of 32




strong enough to override the ‘natural born’ right as recognized by the Constitution in terms of

the most simple and comprehensive, and without reference to race or color, or any other accidental

circumstances.” Attorney General Edward Bates, On Citizenship (Nov. 29, 1862) in 1 THE

RECONSTRUCTION AMENDMENTS: THE ESSENTIAL DOCUMENTS 361-363 (Kurt T.

Lash, ed., 2021) (emphasis in original).

       40.     After the Civil War, and following this same principle, Congress and the rest of the

nation formally repudiated Dred Scott. Congress began by enacting the Civil Rights Act of 1866

pursuant to the Thirteenth Amendment. That law, among other things, contained its own birthright

citizenship provision, proclaiming that “all persons born in the United States and not subject to

any foreign power, excluding Indians not taxed, are hereby declared to be citizens of the United

States[.]” 14 Stat. 27-30 § 1 (Apr. 9, 1866).

       41.     The Civil Rights Act’s birthright citizenship provision was intended—and broadly

understood—to confer broad birthright citizenship regardless of parental alienage.

       42.     During debate, Representative James Wilson cited approvingly to Attorney General

Bates’ opinion, in support of the birthright citizenship provision of the Act. Cong. Globe, 39th

Cong., 1st Sess. at 1115 (1866). Representative Wilson also quoted a myriad of other sources in

support of his position, including Blackstone’s Commentaries on the Laws of England (“Natural-

born subjects are such as are born within the dominions of the Crown of England[.]”), id. at 1116,

Justice Kent’s Commentaries on American Law (“Citizens, under our Constitution and laws, means

free inhabitants, born within the United States or naturalized under the laws of Congress”), id. at

1117, and William Rawle’s View of the Constitution (“Every person born within the United States

. . . whether the parents are citizens or aliens, is a natural-born citizen in the sense of the

Constitution, and entitled to all the rights and privileges appertaining to that capacity.”). Id.




                                                  10
       Case 1:25-cv-00287-TJK            Document 1        Filed 01/30/25      Page 11 of 32




        43.    Representative Burton Cook summarized the meaning of the Act’s citizenship

provision by saying: “This bill provides that all persons born within the United States, excepting

those who do not owe allegiance to the United States Government, as children of embassadors

[sic] of foreign Powers, and such as are not subject to our laws . . . shall be citizens of the United

States. I think this is the law now.” Id.. at 1124.

        44.    Likewise, when an opponent of the Act asked Senator Lyman Trumbull, the author

and sponsor of the Act, “whether it will have the effect of naturalizing the children of [non-citizen]

Chinese and Gypsies born in this country,” Senator Trumbull responded, simply: “Undoubtedly.”

Id. at 498.

        45.    The Civil Rights Act’s birthright citizenship provision encompassed virtually all

persons born in the United States. That is what its plain text indicates, how it was understood at

the time of its enactment, and the way it was intended to operate.

        46.    To remove any possible remaining doubt about the Civil Rights Act’s citizenship

guarantee, and to protect it against subsequent infringement, Congress then enacted, and the states

ratified, the Fourteenth Amendment, which constitutionalized the birthright citizenship rule with

even broader language.

        47.    The Fourteenth Amendment’s Citizenship Clause provides that “[a]ll persons born

or naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the United

States.” U.S. Const. amend. XIV, § 1.

        48.    The Citizenship Clause was enacted with full knowledge among both proponents

and opponents that it would guarantee the citizenship of children of virtually all noncitizens. E.g.,

Cong. Globe, 39th Cong., 1st Sess.at 2890-91 (1866).




                                                  11
       Case 1:25-cv-00287-TJK          Document 1        Filed 01/30/25     Page 12 of 32




       49.     Opponents invoked racism and xenophobia in opposition to the Citizenship Clause,

to no avail. For example, during debate, Senator Edgar Cowan demanded to know: “[i]s the child

of the Chinese immigrant in California a citizen? Is the child of a Gypsy born in Pennsylvania a

citizen?” He feared that the answer would be in the affirmative, prognosticating that California

would be “overrun by a flood of the Mongol race.” As a result, he objected to the Clause on the

ground that the states would “give up the right” to “expel” immigrants “who owe her no allegiance;

who pretend to owe none; who recognize no authority in her government.” Id. at 2890-91.

       50.     Fears of Chinese immigration did nothing to dissuade proponents of the Clause,

however. Senator John Conness affirmed that “the children begotten of Chinese parents in

California” would “be citizens” under it. Id. at 2891.

       51.     Moreover, Senator Conness had no objection to giving citizenship to the children

of Chinese immigrants who would work in the United States temporarily only to return to China.

Id. at 2891.

       52.     Throughout Reconstruction, members of Congress reiterated their understanding of

the Citizenship Clause to include virtually anyone born in the United States, apart from those who

fell within a handful of narrow categories, such as the children of diplomats.

       53.     For example, during debate over the qualifications of Senator Hiram Revels, the

first Black U.S. Senator, Senator Jacob Howard—who helped drafted the Thirteenth Amendment

and who served on the Joint Committee on Reconstruction—rebutted the charge that, because

Senator Revels was Black, Senator Revels was “not therefore a citizen of the United States” or

“has not been … for nine years past” as required by the Constitution. Senator Howard explained

that “in the sense of the Constitution every person born free within the limits of a State, not

connected with a foreign minister’s family, is born a citizen of the United States, whether he be




                                                12
       Case 1:25-cv-00287-TJK          Document 1        Filed 01/30/25      Page 13 of 32




black or white.” Cong. Globe, 41st Cong, 2d Sess. 1543 (1870). The Senate ultimately seated

Senator Revels in a vote of 48 in favor and only eight against.

B.     Reaffirmance of the Citizenship Clause During Periods of Anti-Immigration
       Backlash

       54.     Following the collapse of the political majority underpinning Reconstruction, the

federal government attempted to bypass the constitutional guarantees enshrined during that time.

       55.     In 1882, Congress enacted the Chinese Exclusion Act, 22 Stat. 58 (1882), which

effectively banned Chinese immigration to the United States and barred Chinese immigrants

already in the United States from citizenship, either through naturalization or by birthright

citizenship pursuant to the Fourteenth Amendment.

       56.     Subsequent legislation (e.g., the Geary Act, 27 Stat. 25 (1892)), further restricted

the rights of Chinese immigrants, requiring them to obtain and carry “a certificate of residence”

while “within the jurisdiction of the United States” or else face deportation or “imprison[ment] at

hard labor” for one year.

       57.     Later, the Immigration Act of 1924 expanded the scope of the Chinese Exclusion

Act to bar virtually all Asian immigration to the United States. Pub. L. 68-139, 43 Stat. 153 (1924).

It remained in effect until its repeal in 1943. Magnuson Act, Pub. L. 78-199, 57 Stat. 600 (1943).

       58.     Drawing support from federal anti-Asian immigration laws, states began enacting

Alien Land Laws—statutes restricting Asian immigrants from owning property. To evade the

requirements of the Equal Protection Clause of the Fourteenth Amendment, these state laws did

not mention Asian immigrants or residents explicitly; rather, they barred persons “ineligible for

citizenship” from owning property because Asian immigrants were virtually the only class of

individuals “ineligible for citizenship.” See, e.g., In re Admin. Order 2017-05-17, 217 Cal. Rptr.

3d 730 (Cal. 2017).



                                                 13
       Case 1:25-cv-00287-TJK           Document 1       Filed 01/30/25       Page 14 of 32




       59.     Despite continued virulent anti-Asian prejudice and hostility, the text and intent of

the Citizenship Clause was clear enough that federal courts repeatedly affirmed its broad

application.

       60.     For example, in 1884, Justice Field, sitting as a circuit judge, held in In re Look Tin

Sing that the phrase “subject to the jurisdiction thereof” only excluded “from citizenship children

born in the United States of persons engaged in the diplomatic service of foreign governments”

and “[p]ersons born on a public vessel of a foreign country, whilst within the waters of the United

States,” because while those individuals might be physically within the territory of the United

States, they were not subject to American law. 21 F. 905, 906, 10 Sawy. 353 (C.C.D. Cal. 1884).

       61.     Similarly, in Gee Fook Sing v. United States, 49 F. 146 (9th Cir. 1892), the Ninth

Circuit ordered that a man born on American soil to two Chinese immigrants be permitted entry

into the United States because the man was a United States Citizen. It explained that “the laws

excluding immigrants who are Chinese laborers are inapplicable to a person born in this country,

and subject to the jurisdiction of its government, even though his parents were not citizens, nor

entitled to become citizens, under the laws providing for the naturalization of aliens[.]” Id. at 148.

       62.     Finally, in Wong Kim Ark, 169 U.S. 649 (1898), the Supreme Court was presented

with the question whether a person born in California to two Chinese nationals residing in the

United States, qualified for U.S. citizenship. The Supreme Court rightly answered in the

affirmative. Even though the parents themselves were barred from citizenship, the Court was led

“irresistibly” to the conclusion that “[t]he fourteenth amendment affirms the ancient and

fundamental rule of citizenship by birth within the territory, in the allegiance and under the

protection of the country, including all children here born of resident aliens,” apart from children

of foreign diplomats and children “of enemies within and during a hostile occupation of part of




                                                 14
       Case 1:25-cv-00287-TJK          Document 1        Filed 01/30/25      Page 15 of 32




[the United States].” Other than these limited exceptions, “[t]he [fourteenth] amendment, in clear

words and in manifest intent, includes the children born within the territory of the United States

… of whatever race or color, domiciled within the United States … .” Id. at 693.

        63.     The Supreme Court confirmed this understanding more recently in Plyler v. Doe,

457 U.S. 202 (1982), when it held that the Equal Protection Clause of the Fourteenth Amendment

applies to undocumented immigrants. In so holding, the Court squarely rejected the notion that

undocumented immigrants were not “within the jurisdiction” of a state, explaining that there was

“no plausible distinction with respect to Fourteenth Amendment ‘jurisdiction’” that could “be

drawn between resident aliens whose entry into the United States was lawful, and resident aliens

whose entry was unlawful.” Id. at 211 n.10.

        64.     In Plyler, interpreting the meaning of the phrase “within the jurisdiction”—which

the Court found carried the same meaning for Fourteenth Amendment purposes as “subject to the

jurisdiction”—the Court quoted with approval Wong Kim Ark and again rejected the argument that

“persons who have entered the United States illegally are not ‘within the jurisdiction’ of a State

even if they are present within a State’s boundaries and subject to its laws.” Id.

        65.     Pursuant to Plyler, both undocumented non-citizens and non-citizens legally

present under nonimmigrant visas are “subject to the jurisdiction” of the United States; children of

such individuals therefore fall squarely within the Citizenship Clause, in keeping with the Court’s

holding in Wong Kim Ark and hundreds of years of the doctrine of jus soli. Id.

C.      Congressional Codification of Wong Kim Ark

        66.     Congress has codified these interpretations of the Citizenship Clause’s broad grant

of birthright citizenship.

        67.     Through the Nationality Act of 1940, Pub. L. 76-853; 54 Stat. 1137, Congress

amended the Civil Rights Act of 1866’s citizenship provision to more closely mirror the Fourteenth


                                                 15
        Case 1:25-cv-00287-TJK          Document 1        Filed 01/30/25      Page 16 of 32




Amendment’s Citizenship Clause. The new birthright citizenship statute provides that “a person

born in the United States, and subject to the jurisdiction thereof” is a citizen of the United State. 8

U.S.C. § 1401(a); see also id. §§ 1402, 1406(b), 1407(b). This language “[wa]s taken . . . from the

fourteenth amendment to the Constitution.” To Revise and Codify the Nationality Laws of United

States into a Comprehensive Nationality Code: Hearings Before the Comm. on Immig. and

Naturalization on H.R. 6127 Superseded by H.R. 9980, 76th Cong., 1st Sess., at 38 (1940).

        68.     In 1952, the birthright citizenship statute was reenacted as part of the Immigration

and Nationality Act (INA). 8 U.S.C. § 1401 (“The following shall be nationals and citizens of the

United States at birth: a) a person born in the United States, and subject to the jurisdiction thereof

….”).

        69.     At all times during the process of enacting and, subsequently, re-enacting what is

now 8 U.S.C. § 1401, Congress was aware of the Supreme Court’s interpretation in Wong Kim Ark

of the Fourteenth Amendment’s Citizenship Clause, including specifically of the words “subject

to the jurisdiction thereof.”

        70.     Moreover, Congress intended its codification of 8 U.S.C. § 1401 to reflect its

understanding of the Fourteenth Amendment at the time of the statute’s enactment, which was that

virtually all persons in the United States—including those covered by the Order—were “subject

to the jurisdiction” of the United States.

        71.     Congress codified the long-settled interpretation of the Fourteenth Amendment that

all children born in the United States are citizens, subject only to narrow exceptions. And Congress

has re-enacted this legislation in light of the interpretation of the language by federal courts,

including in Wong Kim Ark.




                                                  16
       Case 1:25-cv-00287-TJK            Document 1        Filed 01/30/25       Page 17 of 32




          72.   Congress’s intent to codify the settled principle of birthright citizenship is also

reflected in the legislative history of the Nationality Act.

          73.   During a May 13, 1940, hearing by the House of Representatives Committee on

Immigration and Naturalization, Representative Austin inquired whether the language that “[a]

person born in the United States, and subject to the jurisdiction thereof” applied “[r]egardless of

the nationality of the parents”; Representative Rees suggested an affirmative answer, replying that

this was “because the Constitution provides that all persons born in the United States are citizens.”

Hearings before the Committee on Immigration and Naturalization 298, 76th Cong., 1st Sess.

(1940).

          74.   A report submitted to Congress by the President on the meaning of the law

expressly quoted approvingly language from Wong Kim Ark, making obvious that by “subject to

the jurisdiction thereof” the statute intended only to “bar[] certain classes of persons, including

children born in the United States to parents in the diplomatic service of foreign states[.]” Id. at

418.

          75.   The President’s report also noted that under the law, citizenship would extend to “a

child born in the United States of parents residing therein temporarily.” It then further explained

that “it is the fact of birth within the territory and jurisdiction, and not the domicile of the parents,

which determines the nationality of the child.” Id.

D.        The Federal Agency Defendants’ Acknowledgments of Birthright Citizenship

          76.   In accordance with their statutory and constitutional duties, federal agencies have

consistently adhered to an inclusive conception of birthright citizenship as directed by both the

Fourteenth Amendment’s plain language and the Supreme Court’s holding in Wong Kim Ark.

          77.   For example, SSA has long accepted birth certificates issued by state agencies as

sufficient proof of U.S. citizenship for issuance of a Social Security number and card.


                                                   17
       Case 1:25-cv-00287-TJK             Document 1     Filed 01/30/25       Page 18 of 32




       78.      Through the Enumeration at Birth program, SSA works in concert with hospitals,

which electronically send birth registration information to SSA. SSA uses this information to

assign newborns a Social Security number and issue a Social Security card.

       79.      DHS regulations provide that “[a] birth certificate that was issued by a civil

authority and that establishes the petitioner’s birth in the United States” constitutes sufficient

primary evidence of U.S. citizenship. 8 C.F.R. § 204(g)(1)(i). Other evidence, such as baptismal

certificates “showing the date and place of birth in the United States and the date of baptism,”

affidavits testifying to personal knowledge of the petitioner’s date and place of birth, school

records showing the child’s date and place of birth, or census records showing the name, place of

birth, and date of birth of the petitioner, may serve as secondary evidence of U.S. citizenship. See

id. § 204(g)(2).

       80.      The U.S. Citizenship and Immigration Services (“USCIS”), a component of

Defendant DHS, advises U.S. citizens that “[if] you were born in the United States, you do not

need to apply to USCIS for any evidence of citizenship. Your birth certificate issued where you

were born is proof of your citizenship.” See I am a U.S. citizen—How do I get proof of my U.S.

citizenship,   U.S.   Citizenship   and    Immigration    Services    (M-560B     (October    2013)),

https://www.uscis.gov/sites/default/files/document/guides/A4en.pdf. USCIS further advises that

a “[b]irth certificate, issued by a U.S. State (if the person was born in the United States)” is a

document that establishes U.S. citizenship. Id.

       81.      The State Department’s Foreign Affairs Manual provides that “U.S. citizenship may

be acquired at birth or through naturalization subsequent to birth,” and explains that “[a]ll children

born in and subject, at the time of birth, to the jurisdiction of the United States acquire U.S.




                                                  18
       Case 1:25-cv-00287-TJK           Document 1        Filed 01/30/25      Page 19 of 32




citizenship at birth even if their parents were in the United States illegally at the time of birth.” 8

FAM 301.1(d).

       82.     The Foreign Affairs Manual specifically states that, as the Supreme Court

concluded in Wong Kim Ark, “[a]cquisition of U.S. citizenship generally is not affected by the fact

that the parents may be in the United States temporarily or illegally.” Id. at 301.1-1(d)(2). Indeed,

“a child born in an immigration detention center physically located in the United States is

considered to have been born in the United States and be subject to its jurisdiction.” Id. This is

so even if the child’s parents have not been legally admitted to the United States and, for

immigration purposes, may be viewed as not being in the United States.” Id.

       83.     The Foreign Affairs Manual and its associated Handbooks are “a single,

comprehensive, and authoritative source for the Department’s organization structures, policies,

and procedures that govern the operations of the State Department, the Foreign Service, and, when

applicable, other federal agencies.”       Foreign Affairs Manual, U.S. Department of State,

https://fam.state.gov (last accessed January 28, 2025).

       84.     For decades, the Board of Immigration Appeals—an administrative body within

DOJ’s Executive Office for Immigration Review—has similarly consistently adhered to the

principle of birthright citizenship, including in adjudicating assertions of U.S. citizenship as a

defense in removal proceedings. See, e.g., Matter of Cantu, 17 I. & N. Dec. 190 (1978); Matter of

S- M-, 9 I. & N. Dec. 664, 665 (1962) (“Briefly, the applicant was born in Texas on March 19,

1923, to parents who are natives and citizens of Mexico. At birth he acquired the nationality both

of the United States and Mexico.”); In the Matter of F—, 21 I. & N. Dec. 427, 427 (1946) (“The

appellant was born in Bridgeport, Conn., on October 28, 1917, and by reason of her birth in this

country she acquired American citizenship.”) (citing Wong Kim Ark, 169 U.S. 649).




                                                  19
       Case 1:25-cv-00287-TJK           Document 1        Filed 01/30/25      Page 20 of 32




E.     The Executive Order

       85.      On January 20, 2025, President Trump issued the Order.

       86.      The Order provides that “the privilege of United States citizenship does not

automatically extend” to a child born in the United States if, at the time of their birth, their father

was neither a U.S. citizen nor a lawful permanent resident and either (i) their mother was either

“unlawfully present in the United States” or (ii) their “mother’s presence in the United States was

lawful but temporary.”

       87.      The Order declares it to be the policy of the United States that no department or

agency of the U.S. government shall issue documents recognizing U.S. citizenship or “accept

documents issued by State, local, or other governments or authorities purporting to recognize

United States citizenship” of persons born in the circumstances described in paragraph 86 above.

Order § 2(a).

       88.      The Order specifies that this policy will apply to persons born after 30 days from

the date of the Order’s issuance. Order § 2(b).

       89.      The Order directs the Secretary of State, the Attorney General, the Secretary of

Homeland Security, and the Commissioner of Social Security to take all appropriate measures to

implement and enforce the Order. Order § 3(a).

       90.      The Order also directs all other agency heads to issue guidance regarding

implementation of the Order with respect to their operations and activities. Order § 3(b).

       91.      Pursuant to federal law and the Fourteenth Amendment, the children targeted by

the Order are U.S. citizens.

       92.      Birthright citizenship is a right defined and guaranteed by Congress and the

Fourteenth Amendment. The President lacks the power to revoke it.




                                                  20
       Case 1:25-cv-00287-TJK          Document 1       Filed 01/30/25     Page 21 of 32




       93.     The Order exceeds the President’s authority and runs afoul of the Constitution and

federal statutory law. Federal law comprehensively sets forth the conditions for citizenship.

Neither the Constitution nor any federal statute confers any authority on the President to redefine

American citizenship.

       94.     Unless enjoined, the Order will not only result in federal agencies denying

citizenship benefits to many thousands of American citizens, but will also veer the country

dangerously back to the reprehensible conception of hereditary birthright citizenship espoused in

Dred Scott.

F.     Injuries Caused by the Order

       95.     Because of a legacy of anti-Asian discrimination in immigration policy, Asian

adults in the United States are overwhelmingly (68 percent) foreign-born. Ruiz, Noe-Bustamente,

and Shah, Pew Research Center, Appendix: Demographic profile of Asian American adults,

available at https://www.pewresearch.org/race-and-ethnicity/2023/05/08/asian-american-identity-

appendix-demographic-profile-of-asian-american-adults/.

       96.     For example, though the 1943 Magnuson Act finally repealed the Chinese

Exclusion Act, it continued to limit immigration from China and left in place restrictions on

immigration from elsewhere in Asia. Under the new law, the permitted number of new Chinese

immigrants was to be determined by the quota system established for other immigrants under the

Immigration Act of 1924, Pub .L. 68-139, 43 Stat. 153, based on the number of persons already in

the United States of the country’s national origin. Because immigration from China had been

prohibited for a half-century, few Chinese immigrants were permitted entry into the United States

each year. "Immigration, Emigration, and Citizenship," Statistical Abstract of the United States:

1944-45 (66th ed.). Washington, D.C.; U.S. Department of Commerce, Bureau of the Census: 107-

120 (Oct. 1945).


                                                21
         Case 1:25-cv-00287-TJK         Document 1       Filed 01/30/25     Page 22 of 32




         97.     Not until the enactment of the Immigration and Nationality Act of 1965, Pub.L. 89-

236, 79 Stat. 911, did the United States finally abolish the discriminatory quota systems that

excluded Asian immigrants and others from the United States.

         98.     Following the elimination of most race-based restrictions on immigration in 1965,

Asians grew from only five percent of all immigrants in the United States to 26 percent of all U.S.

immigrants in 2015. Pew Research Center, Modern Immigration Wave Brings 59 Million to U.S.

(Sept.     28,     2015),     https://www.pewresearch.org/race-and-ethnicity/2015/09/28/modern-

immigration-wave-brings-59-million-to-u-s-driving-population-growth-and-change-through-

2065/. That figure is likely even higher today.

         99.     As a result, about 68 percent of Asian adults in the United States in 2021 were

foreign-born; about half of those arrived within the past 20 years. Pew Research Center, Appendix:

Demographic profile of Asian American adults (May 8, 2023), https://www.pewresearch.org/race-

and-ethnicity/2023/05/08/asian-american-identity-appendix-demographic-profile-of-asian-

american-adults/

         100.    Moreover, Asian immigrants comprise about 14 percent of the undocumented

immigrant population in the United States. Per Research Center, Key facts about Asian Americans

(Apr. 29, 2011), https://www.pewresearch.org/short-reads/2021/04/29/key-facts-about-asian-

americans/

         101.    Of the approximately 11 million undocumented immigrants in the United States,

and whose children born in the United States after the Order goes into effect will be denied U.S.

citizenship, only around 855,000 arrived from either Europe, Canada, or Oceania; by contrast,

around 7.9 million arrived from Latin American countries and 1.7 million arrived from countries

in Asia.




                                                  22
       Case 1:25-cv-00287-TJK            Document 1        Filed 01/30/25       Page 23 of 32




        102.    Individuals in the United States on nonimmigrant visas, and whose children will be

born in the United States after the Order goes into effect, will be denied the benefits of U.S.

citizenship.   They are also disproportionately nonwhite.          In 2019, Asians comprised 60%

(approximately 1.9 million) of all persons in the United States on nonimmigrant visas, for example.

Individuals arriving from Mexico constituted another 9% (approximately 280,000) of persons with

nonimmigrant visas.

        103.    Plaintiff’s members, and other immigrants across the country, are expecting

children that will be born in the United States to parents who have neither lawful permanent

resident status nor United States citizenship at the time of the child’s birth. Under the Order , these

Targeted Children will be denied the benefits of U.S. citizenship, thereby injuring them and their

families.

        104.    American citizenship carries with it “priceless” privileges that are unavailable to

noncitizens. Schneiderman v. United States, 320 U.S. 118, 122 (1943). Those privileges, among

countless others, include eligibility to participate in myriad federal and state government programs

designed to support a healthy, educated, and prosperous citizenry, the right to vote in federal

elections, the right to run for and be appointed to certain high elective offices, and the right to serve

on federal and state juries. The Order would strip the Targeted Children of these privileges.

        105.    If allowed to stand, the Order would “promot[e] the creation and perpetuation of a

subclass” of children who were born in the United States but lack fundamental legal recognition,

and will face stigma as a result of their status. Plyler v. Doe, 457 U.S. 202, 230 (1982).

        106.    The Order will invite the cruel treatment and persistent questioning of children of

immigrants—particularly children of color—both inside and outside the United States by attacking

the principle that essentially all children born in this county are citizens.




                                                   23
       Case 1:25-cv-00287-TJK           Document 1        Filed 01/30/25      Page 24 of 32




       107.    The Order’s denial of the Targeted Children’s citizenship will also have numerous

other consequences for them and their families—including Plaintiff’s members and other families

of Targeted Children.

       108.    Without their citizenship status being recognized by federal agencies, including

those that enforce immigration laws like DHS, U.S. Customs and Border Protection, and U.S.

Immigration and Customs Enforcement, the Targeted Children and their families will have to live

with the pervasive uncertainty, anxiety, and fear that comes along with this marginalization, and

the risk of arrest, detention, and deportation. At any moment, their government may choose to

exile them from their country of birth to countries they have never lived in or even visited.

       109.    Targeted Children and their families will experience constant psychological harm

because of the threat of impending arrest, detention, and deportation. Targeted Children would not

face this threat but for the offending Order.

       110.    Targeted Children will be ineligible for U.S. passports under the Order. For many

of these families, passports are one of the only forms of government identification they can obtain

for the Targeted Children. This identification can be essential for practical reasons in daily life, as

well as in the event of interactions with law enforcement or other government agencies.

       111.    Targeted Children also would not be eligible for a REAL ID and therefore may face

travel restrictions even within the United States.

       112.    Only individuals who are U.S. citizens or lawful permanent residents are eligible

for a REAL ID-compliant driver’s license or identification card.

       113.    Either a passport, or a REAL ID compliant driver’s license or identification card,

will be required for all air travel in the United States, including domestic flights, as of May 7,




                                                  24
       Case 1:25-cv-00287-TJK          Document 1       Filed 01/30/25     Page 25 of 32




2025. See 49 U.S.C. § 30301, Sec. 202(c)(2)(B); Dep’t of Homeland Sec., REAL ID Frequently

Asked Questions, https://www.dhs.gov/real-id/real-id-faqs.

       114.    The imminent loss of access to air travel will not only inflict hardship and injury

on Targeted Children by depriving them of travel and social opportunities, but it will also injure

the families of Targeted Children—including Plaintiff’s members and other immigrant families of

Targeted Children—who are forced to stay home with children that are ineligible for air travel.

       115.    Not only will the Targeted Children lose their access to essential documents such

as U.S. passports and social security cards—which would serve to demonstrate their citizenship

and bestow myriad everyday benefits—but their ability to obtain many benefits programs that

require applicants to have U.S. citizenship or other qualifying immigration status will be thrown

in doubt. That is particularly so because the Order purports to announce a U.S.-government-wide

policy of refusing to recognize the Targeted Children’s birthright citizenship and directs

implementation of this policy by all executive departments and agencies.

       116.    Lack of access to federal benefits harms the Targeted Children as soon as they are

born and will continue to affect them throughout their lives.

       117.    Medicaid is among the largest of federal programs to which the Targeted Children

would lose access. Medicaid is a federally-funded program that provides health insurance for

individuals, including children, whose household incomes fall below certain eligibility thresholds.

The threshold for Medicaid qualification varies state to state. CHIP is a health insurance program

administered by the United States Department of Health and Human Services that provides

matching funds to states for health insurance to families that exceed the household income to

qualify for Medicaid in their state, but whose household income still falls below a separate

threshold.    Medicaid and CHIP are administered by states, but the United States federal




                                                25
       Case 1:25-cv-00287-TJK          Document 1        Filed 01/30/25      Page 26 of 32




government covers a substantial portion of the costs, reimbursing states for between 50 and 75

percent of expenditures on eligible children.

       118.    Individuals who are not U.S. citizens and lack qualifying immigration status are not

eligible for Medicaid or CHIP, save for certain medical emergencies. See 8 U.S.C. § 1611(a),

(c)(1)(B); 8 U.S.C. § 1612(b)(3)(C); 42 U.S.C. § 1396b(v); 42 C.F.R. § 435.406.

       119.    Targeted Children who are denied birthright citizenship because of the Order

therefore will likely be denied access to Medicaid or CHIP. The inability to utilize these federal

programs will cause hardship and financial injury not only to the Targeted Children but also their

families—including Plaintiff’s members and other immigrant families of Targeted Children.

       120.    Depriving the Targeted Children of citizenship may also prevent them from

accessing critical early-life nutritional resources. See 8 U.S.C. § 1611, 1612.

       121.    The Supplemental Nutrition Assistance Program (“SNAP”) provides access to

critically important groceries for low-income households. These groceries and household products

afforded by SNAP help the recipient and their families maintain adequate nutrition and health.

Ensuring access to nutritious food during early childhood is vital for children’s physical and mental

development, laying a foundation for future well-being.

       122.    However, with limited exceptions, only U.S. citizen children are eligible for SNAP.

Because the Order denies their birthright citizenship, the Targeted Children risk being refused

access to nutrition under SNAP. See 7 U.S.C. § 2015(f); 7 C.F.R. § 273.4. This loss of access to

SNAP would cause tangible, physical harm to Targeted Children, and imminent financial injury to

their families—including Plaintiff’s members and other immigrant families of Targeted Children.

And even a brief loss of access to SNAP—such as a loss of access while litigants challenge the




                                                 26
       Case 1:25-cv-00287-TJK           Document 1        Filed 01/30/25      Page 27 of 32




Order in court—could cause lifelong injury to Targeted Children that are deprived of nutrients

during their early development.

       123.     Individuals who are not U.S. citizens and lack qualifying immigration status are

also ineligible for Temporary Assistance for Needy Families (“TANF”) in most states. See NAT’L.

IMM.    LAW     CTR.,    State-Funded      TANF    Replacement      Programs     (Jun.    1,     2024),

https://www.nilc.org/resources/guide_tanf/. By refusing to recognize Targeted Children’s U.S.

citizenship, the Order would deprive them of the financial benefits of federally- and state-funded

TANF programs across the country, causing hardship and financial injury to the Targeted Children

and their families.

       124.     The Social Security Administration administers the Supplemental Security Income

(“SSI”) program, which provides cash payments to disabled children, disabled adults, and

individuals aged 65 or older who are citizens or nationals of the United States. Noncitizens must

be a “qualified alien” in order to be eligible for benefits through the SSI program. See SOCIAL

SECURITY      ADMIN.,    SSI   Spotlight    on    SSI   Benefits   for   Noncitizens     (2024     Ed.)

https://www.ssa.gov/ssi/spotlights/spot-non-citizens.htm.

       125.     Targeted Children that would qualify for SSI funds but do not otherwise meet the

definition of “qualified alien” will imminently experience financial injury by losing access to SSI

program funds. This loss of eligibility for SSI funds will also cause financial hardship and injury

for the families of these otherwise qualified Targeted Children—including certain Plaintiff’s

members and other immigrant families of Targeted Children.

       126.     Eligibility to receive federal student financial aid, including grants, loans, or work

assistance, is generally limited to U.S. citizens. See 20 U.S.C. § 1091(a)(5).




                                                  27
       Case 1:25-cv-00287-TJK              Document 1      Filed 01/30/25     Page 28 of 32




       127.    Children also must be citizens or qualified non-citizens in order to receive federal

public benefits, such as Child Care Development Funds (CCDF). U.S. DEP’T. HEALTH & HUMAN

SERVS.,     Understanding       federal      eligibility   requirements      (Sept.     22,     2023),

https://childcareta.acf.hhs.gov/understanding-federal-eligibility-requirements.         By     denying

Targeted Children birthright citizenship, the Order will injure the Targeted Children and their

families by depriving them of access to CCDF program benefits.

       128.    By depriving covered individuals of birthright citizenship, the Order, at a minimum,

imposes vast uncertainty over the lives of such individuals and would deprive them of citizenship

for many years or, potentially, forever.

       129.    In fact, most, if not all, of the individuals deprived of U.S. citizenship under the

Order may also be unable to qualify for citizenship through naturalization.

       130.    Because of the longstanding reading of the Citizenship Clause as guaranteeing

birthright citizenship to children born to undocumented individuals and persons on temporary

visas, there is no federal statute providing for naturalization of persons born within the United

States to such individuals.

       131.    Furthermore, even if the existing naturalization statutes could be construed to apply

to covered individuals, the process would be uncertain and would likely take years, during which

time they would suffer the harms delineated.

       132.    The Order declares that the Targeted Children are not citizens in the eyes of the

current administration and directs federal agencies to treat them accordingly. This denies them

their rightful status as American citizens in both form and substance.

       133.    The Order stigmatizes the Targeted Children by imposing a federally-sanctioned

lesser status than other citizens; this injures their reputations and impugns their dignity.




                                                  28
          Case 1:25-cv-00287-TJK         Document 1        Filed 01/30/25      Page 29 of 32




          134.   The psychological harm arising from the Order will be traumatizing and

destabilizing for the Targeted Children.

          135.   The Targeted Children’s loss of citizenship as a result of the Order is a loss that is

unconscionable and immeasurable in its breadth and scale.

                                      CLAIMS FOR RELIEF

                             FIRST CLAIM FOR RELIEF
          Fourteenth Amendment to the United States Constitution: Citizenship Clause
                                     (All Defendants)

          136.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          137.   The Citizenship Clause of the Fourteenth Amendment provides that “[a]ll persons

born or naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the

United States.”

          138.   The Citizenship Clause enshrined in the Constitution the fundamental common law

rule of birth by citizenship, whereby all people born in the United States are citizens.

          139.   The term “subject to the jurisdiction” excludes only a few inapplicable categories—

today, just the children of foreign diplomats. All other children born in the United States are

citizens, no matter the immigration status of their parents.

          140.   The Supreme Court has held that “the protection afforded to the citizen by the

Citizenship Clause … is a limitation on the powers of the National Government as well as the

States.” Saenz v. Roe, 526 U.S. 489, 507-08 (1999).

          141.   The Order violates the Fourteenth Amendment’s Citizenship Clause because it

denies citizenship to the children of noncitizens who are born in the United States and subject to

the jurisdiction of the United States, and causes Plaintiff direct and proximate harm as described

herein.


                                                  29
          Case 1:25-cv-00287-TJK         Document 1        Filed 01/30/25      Page 30 of 32




                                  SECOND CLAIM FOR RELIEF
          Ultra vires in violation of 8 U.S.C. § 1401 et seq. and U.S. Const. Amend. XIV
                                           (All Defendants)

          142.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          143.   8 U.S.C. § 1401(a) provides that “a person born in the United States, and subject to

the jurisdiction thereof” is a citizen of the United States. See also id. §§ 1402, 1406(b), 1407(b).

          144.   This language codified the existing interpretation of the Citizenship Clause, which

established citizenship for children regardless of the immigration status of their parents.

          145.   The Executive Order is ultra vires because it is in conflict with 8 U.S.C. § 1401 et

seq.: the Executive Order denies citizenship to the children of noncitizens who are born in the

United States and subject to the jurisdiction of the United States, while section 1401(a) requires it.

          146.   The Executive Order is also ultra vires because it is in conflict with the Citizenship

Clause of the Fourteenth Amendment, as set forth supra.

          147.   By purporting to deny citizenship to Targeted Children, the Order violates the

command of the Fourteenth Amendment and concomitant statutory protections, and causes

Plaintiff direct and proximate harm as described herein.

                                  THIRD CLAIM FOR RELIEF
                                  Administrative Procedure Act
                            (All Defendants except Defendant Trump)

          148.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          149.   The actions of Defendants that are required or permitted by the Executive Order, as

set forth above, are contrary to constitutional right, power, privilege, or immunity, including rights

protected by the Fourteenth Amendment to the U.S. Constitution, in violation of the Administrative

Procedure Act, 5 U.S.C. § 706(2)(B).


                                                  30
          Case 1:25-cv-00287-TJK          Document 1        Filed 01/30/25     Page 31 of 32




                                  FOURTH CLAIM FOR RELIEF
                                   Administrative Procedure Act
                             (All Defendants except Defendant Trump)

          150.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          151.   The actions of Defendants that are required or permitted by the Executive Order, as

set forth above, violate 8 U.S.C. § 1401 et seq. and are in excess of statutory jurisdiction, authority,

or limitations, or short of statutory right, in violation of the Administrative Procedure Act, 5 U.S.C.

§ 706(2)(C).

                                  FIFTH CLAIM FOR RELIEF
                          Declaratory Judgment, 28 U.S.C. §§ 2201, 2202
                                        (All Defendants)

          152.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          153.   For the reasons stated above, Defendants have violated the rights of Plaintiff under

the Citizenship Clause of the Fourteenth Amendment. Defendants have also, as pleaded above,

have acted contrary to 8 U.S.C. § 1401 and the in violation of the APA.

          154.   Plaintiffs seek a declaration to that effect.

          155.   Defendants’ illegal actions have injured, and will continue to injure, Plaintiff in

numerous ways as described herein.

                                       PRAYER FOR RELIEF

          WHEREFORE Plaintiff requests that the Court grant the following relief:

          a.     Declare that the Executive Order is unconstitutional and unlawful in its entirety;

          b.     Enjoin Defendants, their officials, agents, employees, and all persons acting in

concert or participating with them from enforcing the Executive Order or carrying out its directive;

          c.     Require Defendants to pay reasonable attorneys’ fees and costs;


                                                    31
     Case 1:25-cv-00287-TJK         Document 1       Filed 01/30/25      Page 32 of 32




     d.      Grant any other and further relief that this Court may deem just and proper.

Dated: January 30, 2025                           Respectfully submitted,




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                                      Counsel for Plaintiff




                                             32
